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8                                 UNITED STATES DISTRICT COURT
9                                     DISTRICT OF ARIZONA
10   An Lee,
                                                      Case No. ____________________
11                   Plaintiff,
                                                      COMPLAINT
12            vs.
                                                      (Demand for Jury Trial)
13   BHVT Motors, LLC d/b/a Bell Honda,
14                   Defendant.
15

16                                  PRELIMINARY STATEMENT
17   1.       Defendant sold Plaintiff a “NEW” 2021 Honda HR-V (“the HR-V”) with a
18            claimed odometer mileage of 7 miles. In reality, the HR-V had been sold
19            previously and presumably returned to Defendant for unknown reason(s).
20            Defendant hid from Plaintiff the fact that the HR-V had been previously sold.
21            Defendant also failed to disclose the actual mileage of the HR-V at the time of the
22            sale, in an apparent effort to hide the prior sale. In fact, Defendant set the
23            odometer on the trip odometer so that Plaintiff would not realize there were over
24            1,200 miles on the HR-V. Plaintiff seeks actual damages, punitive damages, and
25            statutory damages under the Motor Vehicle Information and Cost Savings Act, 49
26            U.S.C. § 32701, et seq., plus her attorneys’ fees and costs.
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1                                          JURISDICTION
2    2.       This Court has jurisdiction under the Motor Vehicle Information and Cost Savings
3             Act, 49 U.S.C. § 32701, et seq.
4    3.       This Court has supplemental jurisdiction over the state law claims pursuant to 28
5             U.S.C. § 1367.
6                                               PARTIES
7    4.       Plaintiff An Lee (“Lee”) resides in Glendale, Maricopa County, Arizona.
8    5.       Lee is a “transferee” as defined by 49 C.F.R. § 580.3.
9    6.       Defendant BHVT Motors, LLC d/b/a Bell Honda (“Bell Honda”) is a Delaware
10            corporation licensed to do business in the state of Arizona.
11   7.       Bell Honda is a new car dealership with its primary place of business at 701 West
12            Bell Road, Phoenix, Arizona 85023.
13   8.       Bell Honda is a “dealer” as defined by 49 U.S.C. § 32702(2).
14   9.       Bell Honda is a “transferor” as defined by 49 C.F.R. § 580.3.
15                             FACTS GIVING RISE TO THE CLAIMS
16   10.      In April 2021, Lee decided to purchase a brand-new vehicle.
17   11.      On April 30, 2021, Lee went to Bell Honda to look for a new vehicle.
18   12.      Amongst the new vehicles located on Bell Honda’s lot, Lee found a 2021 HR-V
19            (VIN: 3CZRU5H3XMM714948), which Lee was interested in purchasing.
20   13.      The HR-V was parked among the new vehicle inventory on Bell Honda’s lot.
21   14.      Bell Honda prepared, and Lee signed, a Retail Order and Retail Installment Sales
22            Contract (“RISC”) for the purchase and financing of the HR-V. Exhibit A and
23            Exhibit B, respectively.
24   15.      The total cash price of the vehicle was $23,500.14.
25   16.      The RISC showed that the HR-V was a “new” vehicle.
26   17.      The RISC listed the mileage on the HR-V as 7.
27   18.      The Buyer’s Order showed that the HR-V was a “new” vehicle.
28   19.      The Buyer’s Order listed the mileage as 7.
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1    20.   Bell Honda also gave Lee a Secure Odometer Disclosure, which listed the mileage
2          as 7. Exhibit C.
3    21.   The Secure Odometer Disclosure includes the following certification:
4                   I certify to the best of my knowledge that the odometer
                    reading is the actual mileage unless one of the boxes above is
5                   checked.
6    22.   Neither of the boxes above was checked.
7    23.   The actual mileage on the HR-V at the time of sale was actually in excess of 1,200
8          miles.
9    24.   This is because Bell Honda previously sold the HR-V to another customer on
10         February 27, 2021. Exhibit D: BADVIN.org report.
11   25.   The actual mileage was not readily apparent to Lee because the HR-V was set to
12         display the trip odometer instead of the cumulative odometer.             Exhibit E:
13         Photograph of trip odometer B.
14   26.   Thus, it appeared to Lee that the odometer read near 7.
15   27.   Because Lee believed the HR-V was a brand-new vehicle, Lee did not think
16         anything was unusual.
17   28.   Upon information and belief, Bell Honda issued a temporary registration and
18         temporary registration plate to the prior buyer of the HR-V back on February 27,
19         2021.
20   29.   The prior buyer drove the HR-V for approximately 1,200 miles before returning it
21         to Bell Honda.
22   30.   Under A.R.S. § 28-4301(33), a “[u]sed motor vehicle” means a motor vehicle that
23         has been sold, bargained, exchanged or given away or the title to the motor vehicle
24         has been transferred from the person who first acquired the vehicle from the
25         manufacturer, or importer, dealer or agent of the manufacturer or importer, and
26         that has been placed in bona fide consumer use.           For the purposes of this
27         paragraph, “bona fide consumer use” means actual operation by an owner who
28         acquired a new motor vehicle both:
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1          a. For use in the owner’s business or for pleasure or otherwise.
2          b. For which a certificate of title has been issued or that has been registered as
3             provided by law.
4    31.   Under A.R.S. 28-401(24), a “new motor vehicle” means a motor vehicle, other
5          than a used motor vehicle, that is held either for:
6          a. Sale by the franchisee who first acquired the vehicle from the manufacturer or
7             distributor of the vehicle.
8          b. Sale by another franchisee of the same line-make.
9    32.   Because the HR-V was previously placed in bona fide use, it was a used vehicle,
10         not a new vehicle.
11   33.   Bell Honda also violated ARS § 28-4422, which states:
12                A motor vehicle dealer may resell a new motor vehicle if all
                  of the following apply:
13
                  1. A certificate of title is not transferred from the person
14                who first acquired the new motor vehicle from the
                  manufacturer or importer or agent of the manufacturer or
15                importer.
16                2. The new motor vehicle is returned to the selling motor
                  vehicle dealer.
17
                  3. The motor vehicle dealer gives written notice to the retail
18                consumer that the vehicle was delivered to a previous
                  purchaser.
19
                  4. The retail consumer signs an acknowledgment of receipt
20                of the written notice prescribed by paragraph 3 and the
                  motor vehicle dealer maintains a copy of the
21                acknowledgment in the dealer’s records.
22   34.   Bell Honda failed to comply with ARS § 28-4422 when it sold the HR-V to Lee.
23   35.   Lee would not have purchased the HR-V if HR-V’s status as a used vehicle was
24         properly disclosed.
25   36.   Lee would not have purchased the HR-V if HR-V’s status as previously sold and
26         returned was properly disclosed.
27   37.   Lee would not have purchased the HR-V if HR-V’s true mileage of excess of 1,200
28         miles was properly disclosed.
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1                                    CAUSE OF ACTION I
2                    (VIOLATION OF FEDERAL ODOMETER ACT)
3    38.   Bell Honda violated the federal Odometer Act by failing to make appropriate
4          disclosures and by giving false statements in transferring ownership of the HR-V
5          to Lee in violation of 49 U.S.C. § 32705(a)(1).
6    39.   Bell Honda violated the federal Odometer Act with intent to defraud.
7    40.   As a result of Bell Honda’s violation of the federal Odometer Act, Lee suffered
8          damages in an amount to be determined by this Court.
9    41.   Defendant is therefore liable to Lee in an amount equal to three times her actual
10         damages or $10,000.00, whichever is greater, plus reasonable attorneys’ fees and
11         costs. 49 U.S.C. § 32710.
12                                  CAUSE OF ACTION II
13              (VIOLATION OF ARIZONA CONSUMER FRAUD ACT)
14   42.   In connection with the sale of the HR-V to Lee, Bell Honda made the following
15         misrepresentations:
16         a. That the HR-V was new; and
17         b. That the HR-V had 7 miles on it.
18   43.   In connection with the sale of the HR-V to Lee, Bell Honda made the following
19         omission of material facts:
20         a. That the HR-V was previously sold and returned; and
21         b. That the HR-V was driven more than 1,200 miles by the prior buyer.
22   44.   Bell Honda made those misrepresentations and material omissions with the intent
23         that Lee rely upon those misrepresentations.
24   45.   Lee did rely upon those misrepresentations.
25   46.   As a result, Lee suffered damages.
26   47.   Bell Honda’s acts and omissions constitute violations of the Arizona Consumer
27         Fraud Act, A.R.S. §§ 44-1521 et seq. (“ACFA”).
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1    48.   In violating the ACFA, Bell Honda acted with an evil mind, intending to
2          economically injure Lee or consciously disregarding the substantial risk that its
3          conduct would cause significant economic harm to Lee.
4    49.   Lee is therefore entitled to recover actual and punitive damages.
5                                   CAUSE OF ACTION III
6                                  (BREACH OF CONTRACT)
7    50.   Bell Honda warranted that the HR-V was a “new” vehicle.
8    51.   Bell Honda breached this warranty because the HR-V was not a “new” vehicle but
9          rather a “used” vehicle pursuant to A.R.S. 28-4301(33).
10   52.   A.R.S. § 28-4391(33) became a part of the contract and Bell Honda breached it.
11   53.   Lee is entitled to damages in the amount of the difference between the value of
12         the HR-V as accepted and the value of the HR-V as warranted, plus incidental and
13         consequential damages. A.R.S. §§ 47-2714, 47-2715.
14   54.   Lee is also entitled to recover her reasonable attorneys’ fees and costs. A.R.S. §§
15         12-341.01.
16                               DEMAND FOR JURY TRIAL
17   55.   Lee demands a trial by jury on all issues so triable.
18                                   PRAYER FOR RELIEF
19         WHEREFORE, Lee prays that this Court enter judgment in her favor and against
20         Defendant awarding her:
21         (a) Three times her actual damages or $10,000.00, whichever is greater;
22         (b) Actual damages;
23         (c) Punitive damages;
24         (d) Attorneys’ fees and costs;
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                                            COMPLAINT
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1        (e) Pre-judgment and post-judgment interest at the legal rate; and
2        (f) Such other relief as the court deems just and proper.
3        RESPECTFULLY SUBMITTED on September 10, 2021.
4                                                CHOI & FABIAN, PLC
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6                                                By: /s/ Hyung S. Choi________
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                  Exhibit A
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                   Exhibit C
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                  Exhibit D
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                  Exhibit E
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